   Case 2:14-cv-00601-MHT-JTA Document 3467 Filed 12/28/21 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
      Plaintiffs,                   )
                                    )      CIVIL ACTION NO.
      v.                            )        2:14cv601-MHT
                                    )             (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
      Defendants.                   )

                                 ORDER

    It is ORDERED that:

    (1) A status conference is set for January 7, 2022,

at 9:00 a.m., to discuss (a) the status of the ADA Phase

of the litigation and (b) next steps to take in light of

the Phase 2A Omnibus Remedial Opinions and Order entered

on December 27 and 28, 2021 (Doc. 3461, Doc. 3462, Doc.

3463, Doc. 3464, and Doc. 3465). Two business days before
   Case 2:14-cv-00601-MHT-JTA Document 3467 Filed 12/28/21 Page 2 of 2




this    conference    the    parties     are   to   submit     separate

reports on these two issues.

       (2) Additional status conferences to discuss the

status of implementation of said opinions and order are

set for 9:00 a.m. on the following dates: May 13, August

12, and November 10, 2022; February 10, July 7, and

November 17, 2023; February 9, July 12, and November 22,

2024; and February 7, 2025.

       (3) Ten business days before each additional status

conference, the parties are to submit separate reports

giving an overview of what progress has been made, or not

made; what steps, if any, they suggest should be taken;

and any other specific issues the parties would like to

be discussed.

       (4) The courtroom deputy is to arrange for all these

status conferences to be conducted by Zoom.

       DONE, this the 28th day of December, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
